Case 14-40250-bem            Doc 32      Filed 06/10/14 Entered 06/10/14 15:58:37                     Desc Main
                                         Document     Page 1 of 6



                                 UNITED STATES BANKRUPTCY COURT
                                  NORTHERN DISTRICT OF GEORGIA
                                          ROME DIVISION

IN RE                                                                 Case No: 14-40250-MGD
Frank D. Smith                                                         Judge: Diehl
Ava Smith
Debtors

                                     2nd AMENDED CHAPTER 13 PLAN
Extension ()                                                                            Composition (XX)

        Summary of Changes: increases unsecured pool.

        You should read this Plan carefully and discuss it with your attorney. Confirmation of this Plan
by the Bankruptcy Court may modify your rights by providing for payments of less than the full amount
of your claim, by setting the value of the collateral securing your claim, and/or by setting the interest rate
on your claim.

Debtor or Debtors (hereinafter called “Debtor”) proposes this Chapter 13 Plan:

1. Submission of Income. Debtor submits to the supervision and control of the Chapter 13 Trustee (“Trustee”)
all or such portion of future earnings or other future income of Debtor as is necessary for the execution of this
Plan.

2. Plan Payments and Length of Plan. Debtor will pay the sum of $1,560.00 per month to Trustee
by (XX) payroll deduction ( ) by direct payments for the applicable commitment period of 60 months, unless all
allowed claims in every class, other than long-term claims, are paid in full in a shorter period of time. The term
of this Plan shall not exceed sixty (60) months. See 11 U.S.C. §§ 1325 (b)(1)(B) and 1325(b)(4). Each pre-
confirmation plan payment shall be reduced by any pre-confirmation adequate protection payment(s) made
pursuant to Plan paragraph 6(A)(I) and 1326 (a)(1)( c).

        The following alternative provision will apply if selected:

   IF CHECKED, Plan payments shall increase by $ in upon completion or termination of payments for

3. Claims Generally. The amounts listed for claims in this Plan are based upon Debtor’s best estimate and
belief. An allowed proof claim will be controlling, unless the Court orders otherwise. Objections to claims may
be filed before or after confirmation.

4. Administrative Claims. Trustee will pay in full allowed administrative claims and expenses pursuant to 507
(a) (2) as set forth below, unless the holder of such claim or expense has agreed to a different treatment of its
claim.
          (A). Trustee’s Fees. Trustee shall receive a fee for each disbursement, the percentage of which is fixed
by the United states Trustee.

         (B). Debtor’s Attorney’s Fees. Debtor and Debtor’s attorney have agreed to a base attorney fee in the
amount of $3,750.00. The base fee includes, but is not limited to, all anticipated services identified in paragraph
6 of the Rule 2016(b) disclosure statement in this case. The amount of $0.00 was paid prior to the filing of the
case. The balance of the fee shall be disbursed by the Trustee as follows: (a) Upon the first disbursement
following confirmation of a Plan, the Trustee shall disburse to Debtor’s attorney from the proceeds available and
paid into the office of the Trustee by Debtor or on Debtor’s behalf, up to $3,750.00 after the payment of adequate

                                                         1
Case 14-40250-bem             Doc 32      Filed 06/10/14 Entered 06/10/14 15:58:37                       Desc Main
                                          Document     Page 2 of 6



protection payments and administrative fees. The remaining balance of the fees shall be paid up to $973.00 per
month until the fees are paid in full; (b) If the case is dismissed or converted prior to confirmation of the plan, the
Trustee shall pay fees to Debtor’s attorney from the proceeds available and paid into the office of the Trustee by
Debtor or on Debtor’s behalf, all funds remaining, not to exceed $3,750.00, after payment of any unpaid filing
fees, Trustee’s fees and expenses, and adequate protection payments, if applicable.

         Debtor and Debtor’s attorney have further agreed that Debtor’s attorney may be paid for “non-base
services” as they are performed on an as-needed basis. These “non-base” services, and the agreed fee for each,
are identified in paragraph 6 of the Rule 2016(b) disclosure statement in this case. Upon completion of a “non-
base” service, Debtor’s attorney may file an applicable with the Court, serving all parties in interest with notice
of the application and providing an opportunity to be heard on the matter. If the base bee has been paid in full,
then the fee shall be paid up to $973.00 per month, and the distributions to creditors shall be reduced, pro rata, by
that amount until the additional fee is paid in full.

5. Priority Claims.

         (A). Domestic Support Obligations.

         __None. If none, skip to Plan paragraph 5(B)

                  (i). Debtor is required to pay all post-petition domestic support obligations
 directly to the holder of the claim.

                  (ii). The name(s) and address(es) of the holder of any domestic support obligation
 are as follows. See 11 U.S.C. §§ 101 (14A) and 1302(b)(6).
                  ______________________

                  (iii). Anticipated Domestic Support Obligation Arrearage Claims;

                  (a). Unless otherwise specified in this Plan, priority claims under 11 U.S.C.
         507(a)(1) will be paid in full pursuant to 11 U.S.C. 1322 (a) (2). These claims will be paid at the same
         time as claims secured personal property, arrearage claims secured by real property, and arrearage
         claims for assumed leases or executory contracts.

                  _______________None; or

         a) Creditor Name & Address b) Est. Arrears             c) Est. Mo. Payment
         __________________________ ___________                  ___________________

        (b). Pursuant to 507 (a)(1)(B) and 1322 (a)(4), the following domestic support obligation
Claims are assigned to, owed to, or recoverable by a governmental unit.
        _________None; or

         Claimant and proposed treatment: ___________________________________________

         (B). Other Priority Claims (e.g.,tax claims). These priority claims will be paid in full, but will not be
         funded until after all secured claims, lease arrearage claims, and domestic
         support claims are paid in full.

                           (a)                                                        (b)
                         Creditor                                               Estimated Claim


                                                          2
Case 14-40250-bem                 Doc 32     Filed 06/10/14 Entered 06/10/14 15:58:37                     Desc Main
                                             Document     Page 3 of 6



 IRS                                                              $4,800

6. Secured Claims.

                    (A). Claims Secured by Personal Property which Debtor Intends to Retain.

                               (i). Pre-confirmation adequate protection payments. No later than 30 days after the
                               date of the filing of this plan or the order for relief, whichever is earlier, the Debtor
                               shall make the following adequate protection payments to creditors pursuant to 1326
                               (a)(1)( C). If the Debtor elects to make such Adequate protection payments on allowed
                               claims to the Trustee pending Confirmation of the plan, the creditor shall have an
                               administrative lien on Such payment(s), subject to objection. If Debtor elects to make
                               such adequate protection payments directly to the creditor, Debtor shall provide
                               evidence of such payment to the Trustee, including the amount and date of the
                               payment.

                               Debtor shall make the following adequate protection payments:

                               _______directly to the creditor; or

                               ___xx__to the Trustee pending confirmation of the plan.

                    (a)                                      (b)                                 ( c)
                  Creditor                                Collateral                      Adequate protection
                                                                                           payment amount

 Americredit                                2011 Chevrolet Camaro                 $500.00

                    (ii). Post confirmation payments. Post-confirmation payments to creditors holding claims
                    secured by personal property shall be paid as set forth in sub-
                    paragraphs (a) and (b). If Debtor elects to propose a different method of payment
                    such provision is set forth in subparagraph ( C).

                               (a). Claims to Which 506 Valuation is NOT applicable. Claims listed
                               In this subsection consist of debts secured by a purchase money security
                               Interest in a vehicle for which the debt was incurred within 910 days of
                               Filing the bankruptcy petition, or, if the collateral for the debt is any other
                               Thing of value, the debt was incurred within 1 year of filing. See § 1325(a)(5).
                                After Confirmation of the plan, the trustee will pay the holder of each allowed secured
                               claim the monthly payment in column (f) based upon the amount
                               Of the claim in column (d) with interest at the rate stated in column (e).
                               Upon confirmation of the plan, the interest rate showed below or as modified will be
                               binding unless a timely written objection to confirmation is filed and sustained by the
                               Court. Payments distributed by the Trustee are subjected to the availability of funds.

                               _______None; or

         (a)                    (b)               ( c)                   (d)              (e)               (f)
       Creditor              Collateral        Purchase                 Claim          Interest          Monthly
                                                 date                  amount            rate            payment


                                                              3
Case 14-40250-bem           Doc 32      Filed 06/10/14 Entered 06/10/14 15:58:37                           Desc Main
                                        Document     Page 4 of 6



 Americredit        11' Chevy          2011                 $8,787                  6.5%               $500 monthly
                    Camaro                                                                             until 6/2014 at
                                                                                                       which time the
                                                                                                       payment shall
                                                                                                       increase to
                                                                                                       $575.00 until
                                                                                                       the claim is
                                                                                                       paid in full.

                 (b). Claims to Which 506 Valuation is Applicable. Claims listed in this subsection consist of
                 any claims secured by personal property nor described in Plan paragraph 6(A)(ii)(a). After
                 confirmation of the plan, the Trustee will pay to the holder of each allowed secured claim the
                 monthly payment in column (f) based upon the replacement value as stated in column (d) or the
                 amount of the claim. Whichever is less, with interest at the rate sated in column (e). The
                 portion of any allowed claim that exceeds the value indicated below will be treated as an
                 unsecured claim. Upon confirmation of the plan, the valuation and interest rate show below or
                 as modified will be binding unless a timely written Objection to confirmation is filed and
                 sustained by the Court. Payments distributed by the Trustee are subject to the availability of
                 funds.

                 _____xx_____None; or

       (a)                (b)                ( c)                (d)                      (e)                (f)
     Creditor          Collateral          Purchase          Replacement               Interest           Monthly
                                             date               value                    rate             payment




        (B). Claims Secured by Real Property Which Debtor Intends to Retain. Debtor will make post-
        petition mortgages payments directly to each mortgage creditor as those payments ordinary come due.
        These regular monthly mortgage payments, which may be adjusted up or down as provided for under
        the loan documents, are due beginning the first due date after the case is filed and continuing each
        month thereafter, unless this Plan provide otherwise. Trustee may pay each allowed arrearage claim at
        the monthly rate indicated below until paid in full. Trustee will pay interest on the mortgage arrearage if
        the creditor request interest, unless an objection to the claim is filed and an order is entered disallowing
        the request interest.

           (a)                           (b)                             ( c)                             (d)
         Creditor                     Property                       Estimated                         Projected
                                     description                     pre-petition                      Monthly
                                                                      arrearage                   arrearage payment


 American Home               1 DSD Residence                    $8,500                      see 1 below
 Mortgage Servicing

 Citifinancial               2 DSD Residence                $13,000                         see 2 below


1. Mortgage arrears shall be paid in the amount of $0.00 monthly until 6/2014 at which time the payment will

                                                        4
Case 14-40250-bem            Doc 32        Filed 06/10/14 Entered 06/10/14 15:58:37                     Desc Main
                                           Document     Page 5 of 6


increase to $253.00 monthly until the claim is paid in full.
2. Mortgage arrears shall be paid in the amount of $0.00 monthly until 6/2014 at which time the payment will
increase to $645.00 monthly until the claim is paid in full.

         C ). Surrender of Collateral. Debtor will surrender the following collateral no later than
         thirty(30) days from the filing of the petition unless specified otherwise in the Plan. Any claim filed by a
secured lien holder whose collateral is surrendered will be treated as unsecured. Any involuntary
repossession/foreclosure prior to confirmation of this Plan must be obtained by a filed motion and Court order,
unless the automatic stay no longer applies under § 362( c). Upon Plan confirmation, the automatic stay will be
deemed lifted for the collateral identified below for surrender and creditor need not file a Motion to Lift Stay in
order to repossess, foreclose upon or sell the collateral. Nothing herein is intended to lift any applicable co-
Debtor stay, or to abrogate Debtor’s state law contract rights.

                           (a)                                                        (b)
                         Creditor                                        Collateral to be surrendered



         7. Unsecured Claims. Debtor estimates that the total of general unsecured debt not separately classified
in Plan paragraph 10 is $28,219. After all other classes have been paid, Trustee will pay to the creditors with
allowed general unsecured claims a pro rata share of $25,200 or 0%, whichever is greater. Trustee is authorized
to increase this dollar amount or percentage, if necessary, in order to comply with the applicable commitment
period stated in paragraph 2 of this Plan.

        8. Executory Contracts and Unexpired Leases. The following executory contracts and
unexpired leases are assumed, and payments due after the filing of the case will be paid directly by Debtor, not
through Trustee, as set forth below in column ( c).

         Debtor proposes to cure any default by paying the arrearage on the assumed leases or
contracts in the amounts projected in column (d) at the same time that payments are made to secured creditors.
All other executory contracts and unexpired leases of personal property are rejected upon conclusion of the
confirmation hearing.

         _____XX____None; or



            (a)                            (b)                          ( c)                        (d)
          Creditor                  Nature of lease or         payment to be paid           Projected arrearage
                                    executory contract          directly by debtor           monthly payment
                                                                                             through plan (for
                                                                                               informational
                                                                                                 purposes)

                                                                                                  $


         9. Property of the Estate. Property of the estate shall not vest in Debtor until the earlier of Debtor’s
         discharge or dismissal of this case, unless the Court orders otherwise.

         10. Other Provisions:



                                                         5
Case 14-40250-bem             Doc 32       Filed 06/10/14 Entered 06/10/14 15:58:37                       Desc Main
                                           Document     Page 6 of 6


               (A). Special classes of unsecured claims. Co-signed general unsecured loan with First
National Bank of Polk County to be paid in full at 5.509% or contract rate to protect co-signer.

                  (B). Other direct payments to creditors.

                   (C). Other allowed secured claims: A proof of claim which is filed and allowed as a secured
claim, but is not treated specifically under the plan, shall be funding with 4.50% interest as funds become
available after satisfaction of the allowed secured claims which have been treated by the plan and prior to
payment of allowed non-administrative priority claims (except domestic support obligation claims as set forth in
paragraph 5(A) above and general unsecured claims. Notwithstanding the foregoing, the Debtor or any other
party in interest may object to the allowance of the claim.

                   (D). Claims subject to lien avoidance pursuant to 11 U.S.C.§552(f). The allowed secured
claim of each creditor listed below shall not be funded until all allowed, secured claim which are being treated by
the plan are satisfied. If an order is entered avoiding the creditor’s lien, that creditor’s claim shall be treated as a
general, unsecured claim to the extent it is not otherwise secured by property of the estate and treated by the
plan. To the extent that the creditor’s lien is not avoided and is not otherwise treated by the plan, the secured
claim shall be funded as set forth in the above paragraph. This paragraph shall apply to the following creditors:

        (E). Any tax refund that is issued to the Debtors during the applicable commitment period shall
be paid into the Chapter 13 case. Further, the Debtors instruct and authorize the Internal Revenue
Service or any other applicable tax agency to send any refund issued during the applicable commitment
period directly to the Chapter 13 Trustee.

                  (F). Debtors propose to Object to Ford Motor Credit, Ally Financial and General Electric
Capital Corporation due to the fact that Debtors have received the titles to for the collateral after being paid
off in the previous bankruptcy case.

June 10, 2014

__/s_________________________                                   /s/_______________________________
Debtor    Frank D. Smith                                        Debtor         Ava Smith

___/s______________________________________
W. Jeremy Salter, Attorney for Debtors
State Bar No: 303979




                                                           6
